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- “Court s responsibility to locate and investigate why the contents of this package have not

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JAyy *s
Nathan Ochsner Nath é Lor
Clerk of Court Chena,
P.O. Box 61010 tore,
Houston, TX 77208 a

~ Date: Dec. 13, 2024
Via USPS Mail

Burke v. PHH Mortgage Corporation (4:24-cv-00897)
Reassigned to: Judge Eskridge/Magistrate Judge Bryan
District Court, 5.D. Texas

Dear Sir or Madam,
RE: JOANNA BURKE'S FILINGS IN THIS CASE

Tam writing to follow up on two separate USPS Express Mail deliveries of my legal
pleadings, which have yet to be properly docketed in my case. Below, I provide the details
of each package, as well as the corresponding concerns.

USPS EXPRESS DELIVERY #1

On November 15, 2024, I received confirmation from USPS that my package was
delivered, containing legal pleadings with a cover letter detailing the contents therein.
The tracking number for this package is 948173010935500013 7813. The package was
signed by H. Lerma at the postal facility in Houston, TX, at 9:06 am.

_As the Court t signed the package upon nn delivery, I  Irespectfully submit that iti is the_

been docketed.

I trust the Court can internally investigate the whereabouts of the package and
ensure that my pleadings are properly added to the docket without further delay.

USPS EXPRESS DELIVERY #2

The second package, containing additional pleadings, was delivered on November
21, 2024. I received confirmation from USPS that the item was picked up at the same
facility in Houston, TX, at 9:47 am, signed for by B. Lacey, with tracking number
1

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9481730109355000162426. This package contained the following documents, which

were docketed:
Doc. 43: Nov 21, 2024

PLAINTIFF'S REPLY to 42 Response in Opposition to Motion, filed by Joanna
Burke. (cng4) (Entered: 11/21/2024)

Doc. 43: Nov 21, 2024

SURREPLY to 27 MOTION for Summary Judgment, filed by Joanna Burke. (cng4)
(Entered: 11/21/2024}

me Doc. 45: Dec-5;2024-—----—~~ = = ee ee

Leave to File Document
Attachment 1: Proposed Order
However, I would like to raise the following concerns:

Separation of Documents: I am concerned that the contents of USPS Express
Package #2, which included a cover letter detailing all enclosed pleadings, became
separated, Specifically, Doc. 45, the "Leave to File” document with the proposed order,
was detached from the other filings and did not appear on the docket until December 5,
2024—14 days after delivery. This separation occurred despite my clear labeling and
submission of all documents together in one package.

Delays in Docketing: The time it took for Doc. 45 to be added to the docket {14

days} is of significant concern, as timely docketing is crucial for the progression of my

located and docketed without my intervention, which raises the question of why Melissa
Morgan-Faircloth for the court deems it necessary to email me about a delivered package,
which is the responsibility of the court.

Previous Correspondence: | also wish to note that, in the past, I have experienced
delays with USPS delivery, including a significant delay in September 2024, which
affected my ability to submit pleadings. In that case, my email to Case Manager Janelle

Gonzalez went unanswered, and my arguments were not considered when orders were

- ~ case What is particularly noteworthy is that, in this instance, part ofthe documents was ~~
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all

issued. This is why I have chosen to use USPS Express Mail to ensure timely delivery and
a receipt signature for future filings.

Furthermore, I am aware that this Court accepts only mail submissions for pro se
litigants. In accordance with the Southern District's guidelines, I will continue to

communicate via USPS mail. See:

“Ordinarily, all non-attorney pro se litigants must deliver or mail filings
to the Clerk's Office, as detailed in the Southern District of Texas’
Guidelines for Litigants Without Lawyers.” Bisgaard v. Bitgood, Civil
Action 4:22-CV-03279, at *17 n.6 (S.D. Tex. Aug. 14, 2024).

“CONCLUSION = ——S—<“<;7;7;3}XEThCté<CS*été«CS™S

I kindly request that the Court confirm the location of the documents from
Package #1 and that all pleadings are properly docketed. Additionally, I would appreciate
_ clarification on the issues related to the delayed docketing of Doc. 45.

Thank you for your attention to this matter. I look forward to your prompt

response.

Sincerely,

COMMA by UMAR
oN,
CY

Joanna Burke
46 Kingwood Greens Dr.,

Kingwood, TX, 77339

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Case 4:24-cv-00897

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